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                         UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK



KEITH F. BELL, PH.D.,                                §
                                                     §
                             Plaintiff,              §
                                                     §
              -v-                                    §      Civil Action No. ___________
                                                     §
MSNBC CABLE, LLC AND JOEY                            §
SCARBOROUGH                                          §
                                                     §
                             Defendants.



                          PLAINTIFF’S ORIGINAL COMPLAINT

       Plaintiff, Keith F. Bell, Ph.D. (“Dr. Bell” or “Plaintiff’), files this Complaint to recover

damages arising from violations of Dr. Bell’s intellectual property rights by Defendant MSNBC

Cable, LLC (“MSNBC”) and Joey Scarborough (“Scarborough”). MSNBC and Scarborough are

hereafter referred to collectively as “Defendants.” In support of his claims, Plaintiff states as

follows:

                                          THE PARTIES

     1.    Plaintiff is, and at all relevant times has been, a resident of Texas.

     2.    Defendant MSNBC Cable, LLC is a Delaware limited liability company who maintains

its principal place of business in New York. This defendant may be served with summons through

its registered agent, CT Corporation System, 28 Liberty St., New York, New York, 10005.

     3.    Defendant Joey Scarborough is an individual who, on information and belief, lives and

works in New York. He may be served with process at his current business address, NBC News,

30 Rockefeller Center, New York, New York 10112.




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                                   JURISDICTION AND VENUE

      4.     This Court has jurisdiction over Plaintiff’s claims pursuant to 28 U.S.C. §§

1331 & 1338 in that the claims arise under an act of Congress relating to copyrights. This

Court has supplemental jurisdiction under 28 U.S.C. § 1367(a) over Plaintiff’s claims under

state law.     This Court also has diversity jurisdiction in this case because Plaintiff and

Defendants are from different states and the amount in controversy exceeds $75,000. There is

complete diversity among the parties.

      5.     This Court has jurisdiction over Defendants because they reside and are domiciled in

New York, conduct business in New York, have their principal place of business in New York, and

committed the wrongful acts at issue in this case in New York.

      6.     Plaintiff contends that there is both specific and general jurisdiction over Defendants in

New York, that Defendants have sufficient minimum contacts to satisfy due process, and that the

exercise of jurisdiction over Defendants comports with traditional notions of fair play and

substantial justice.

      7.     Venue is proper in this judicial district pursuant to 28 U.S.C. § 139l(b)(2) because a

substantial part of the events giving rise to Plaintiff’s claims occurred in this judicial district and

because Defendants’ principal place of business in this state is within this judicial district and

division.

                                             THE FACTS

Dr. Bell and His Sports Psychology Practice

      7.     Dr. Bell is an internationally recognized sports psychology and performance consultant.

He has worked as a sports psychologist with over 500 teams, including the Olympic and national

teams for the United States, Canada, Australia, New Zealand, Hong Kong, Fiji, and the Cayman

Islands.

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     8.    In addition to his work with sports teams, Dr. Bell speaks at national and international

coaching symposia. Among others, he has been a featured speaker with the National High School

Coaches Association, North America Soccer Association, U.S. Olympic Sports Medicine

Symposium, American Swim Coaches Association, Australian Coaches Association, Canadian

Coaches Association, Japanese Coaches Association, and British Swim Coaches Association.

     9.    Dr. Bell has also enjoyed success as an athlete and coach. He is a four-time collegiate

All-American swimmer, holds numerous world and national masters swim records, and has

coached U.S. national, university, collegiate, high school, and club swimming teams.

     10. Further, Dr. Bell has authored and had published 10 books and over 80 articles relating

to sports psychology and sports performance. He also has been a regular columnist for national

swimming publications such as Swimmers, Swimmers Coach, SwimSwam, and Swim Texas

Magazine, and is a periodic contributor to Austin Fit Magazine.

Dr. Bell’s Original Literary Work, Winning Isn’t Normal

     7.    In 1981, Dr. Bell wrote the book entitled Winning Isn't Normal (“Winning Isn’t

Normal” or the “Infringed Work”), which was first published in 1982. The book has enjoyed

substantial acclaim, distribution, and publicity. Dr. Bell is the sole author of this work and

continues to own all rights in the work.

     8.    Dr. Bell holds a copyright registration for the Infringed Work. A copyright registration

certificate for Winning Isn't Normal was issued to Dr. Bell by the United States Copyright Office

on or about September 21, 1989, with the registration number TX-0002-6726-44. A true and

correct copy of the Certificate of Registration is attached hereto as Exhibit A.

     9.    Since Dr. Bell authored and published the Infringed Work, Winning Isn’t Normal, he

has and continues to promote, distribute, offer for sale, and sell numerous copies of the work.

Currently, among others, Dr. Bell offers Winning Isn’t Normal for sale through Amazon.com and
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the website keelpublications.com.

      10. Dr. Bell has made and continues to make meaningful efforts to create a market for

Winning Isn’t Normal and to protect and enjoy the rights afforded to him under the Copyright Act.

Importantly, as part of these efforts, Dr. Bell creates, markets, and sells works derivative of the

Infringed Work, such as posters and t-shirts that display a particular passage from Winning Isn’t

Normal (the “WIN Passage”). The WIN Passage is viewed by Dr. Bell and others as the heart of

Dr. Bell’s literary work Winning Isn’t Normal. A true and correct copy of the WIN Passage is

attached as Exhibit B.

      11. Dr.    Bell    owns   the   domain    winningisntnormal.com,      which    points   to   the

keelpublications.com website where Dr. Bell offers the Infringed Work Winning Isn’t Normal and

derivative works for sale.

      12. Due to the popularity of his original work Winning Isn’t Normal, Dr. Bell has been able

to increase his international recognition as an authority in sports psychology and sports

performance and has been asked to speak at conferences, symposia, and other engagements as a

result.

      13. Dr. Bell has offered and continues to offer licenses at fair and reasonable rates to others

who wish to publish or otherwise use the popular WIN Passage on the internet or in traditional

publishing mediums.

      14. Dr. Bell has taken due care to provide notice of his copyright in Winning Isn’t Normal.

Dr. Bell has included pertinent copyright notices on physical and electronic copies of Winning Isn’t

Normal and derivative works, provides pertinent copyright notices on Amazon.com and

keelpublications.com, and includes a conspicuous copyright watermark on digital images of

derivative works (such as posters) or excerpts that he posts online or otherwise distributes. Dr. Bell

also includes information on keelpublications.com regarding how to contact Dr. Bell about


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obtaining permission to use the WIN Passage or other portions of Winning Isn’t Normal.

      15. Because of Dr. Bell’s commercial efforts, Dr. Bell enjoys trademark protection in the

word mark WINNING ISN’T NORMAL, which he uses in connection with various goods and

services, including his Winning Isn’t Normal® series of books, of which Winning Isn’t Normal is

part. The United States Patent and Trademark Office issued a trademark registration to Dr. Bell for

WINNING ISN’T NORMAL for printed matter on November 4, 2014, with a registration number

of 4630749. A copy of the trademark registration is attached as Exhibit C.

      16. Pursuant to Section 33(b) of the Lanham Act, registration of the WINNING ISN’T

NORMAL® mark is conclusive evidence of the validity of the registered mark and of Dr. Bell’s

right to use the registered mark in commerce in connection with the goods or services specified in

the registration.

      17. As a result of the unique and distinctive nature of Dr. Bell’s WINNING ISN’T

NORMAL® mark and his continued commercial use of the mark, “Winning Isn’t Normal” has

become widely associated with Dr. Bell and his printed material and related goods and services.

The WINNING ISN’T NORMAL® mark is indicative to consumers that printed material and

related items bearing the WINNING ISN’T NORMAL® mark originate from or are affiliated with,

sponsored, or approved by Dr. Bell.

Defendant’s Infringement of Dr. Bell’s Work

        18. Defendant MSNBC is a cable news network. Defendant Scarborough was the social

media editor for Defendant MSNBC at the time of the acts at issue in this lawsuit. Defendant

Scarborough currently holds a similar position for NBC News.

      19. Defendant Scarborough was an employee and agent of Defendant MSNBC. The job

responsibilities of Defendant Scarborough specifically included maintaining active social media

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accounts such as the one at issue in this lawsuit.

     20. At the time of the acts at issue in this case, Defendant Scarborough prominently noted

his employment with Defendant MSNBC. Plaintiff contends that maintaining an active Twitter

account is something that Defendant Scarborough does in the course and scope of his employment

with Defendant MSNBC, and that Defendant MSNBC is responsible for his actions pursuant to the

doctrine of respondeat superior and other law.

     21. In or around May 2016, Defendant Scarborough posted an excerpt of Winning Isn’t

Normal on his Twitter account. A copy of this infringement is attached hereto as Exhibit D. At

that time, Defendant Scarborough had approximately 11,000 followers.             The infringement of

Defendant Scarborough was “liked” at least 42 times and retweeted at least 40 times.

     22. The use of Dr. Bell’s intellectual property as described herein was made without

authorization from Dr. Bell and without attribution to Dr. Bell.

     23. Defendants did not request permission to use Dr. Bell’s copyrighted work at any time.

                          CLAIM I: COPYRIGHT INFRINGEMENT

     29. Plaintiff repeats and realleges each and every paragraph set forth above as if f ully set

forth again at length herein.

     30. Plaintiff owns valid copyright in the Infringed Work.

     31. Defendants have, without authorization, copied one or more of the constituent elements

of the Infringed Work that are original.

     32. Defendants copied the heart of the Infringed Work almost or completely verbatim,

rendering the offending works substantially similar to and/or functionally identical to the Infringed

Work.

     33. Defendants’ copying of the Infringed Work was done willfully and intentionally in

violation of federal copyright law, with knowledge that an agreement had not been reached with Plaintiff
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regarding such copying, and with knowledge that neither a license nor an assignment had been granted

to Defendants allowing them to copy or use the Infringed Work.

      34. Defendants have, without authorization, publicly displayed, and distributed one or more

of the constituent elements of the Infringed Work that are original.

      35. Defendants’ public display and distribution of the heart of the Infringed Work was done

willfully and intentionally in violation of federal copyright law, with knowledge that an agreement had

not been reached with Plaintiff regarding such public display and distribution, and with knowledge that

neither a license nor an assignment had been granted to Defendants allowing them to publicly

display the Infringed Work.

      36. By so copying, publicly displaying, and distributing the Infringed Work, Defendants

have willfully infringed Plaintiff’s copyrights therein, for which infringement Plaintiff is entitled

to injunctive relief and to recover damages in the form of either Defendants’ actual profits

attributable to the infringements or, in the alternative and at Plaintiff’s election, statutory damages.

Defendants should also be required to pay Plaintiff’s attorneys’ fees, as authorized by law,

associated with its copyright infringement.

                                         ATTORNEY FEES

       37.      Because of Defendants’ willful and intention infringement of Plaintiff’s copyrights,

Plaintiff has been required to retain the services of attorneys to protect his rights and interests. Based

upon the foregoing, Plaintiff respectfully requests that this Court award costs of court and

reasonable attorneys’ fees as part of the requested relief, pursuant to 17 U.S.C. § 505.

                                               PRAYER

       38.      WHEREFORE, Plaintiff demands judgment against Defendants as follows:

       39.      That the Court issue an injunction prohibiting Defendants and those acting in

concert with them from:


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                (a)    Copying, using, performing, or publicly displaying the Infringed Work or

                       constituent elements thereof that are original;

                (b)    Creating any derivative works based on the Infringed Work (either

                       individually or with a third party) without first obtaining a license or

                       assignment from Plaintiff that allows Defendants to do so; and

                (c)    Otherwise infringing the rights of Plaintiff with respect to the Infringed

                       Work and Plaintiff’s trademark.

       40.      A judgment awarding damages to Plaintiff based on each of the claims asserted

herein, including actual, consequential, incidental, and all other types of damages authorized by

law necessary to make Plaintiff whole under applicable law;

       41.      Actual damages, profits, and/or statutory damages based on copyright infringement;

       42.      That an accounting be directed to determine the profits of Defendants resulting from

their activities and that such profits be paid over to Plaintiff, increased as the Court finds to be just

under the circumstances;

       43.      Reasonable and necessary attorney fees pursuant to 17 U.S.C. § 505 and other law;

       44.      The injunctive relief and all necessary findings requested herein;

       45.      Pre-judgment and post-judgment interest at the highest rate allowed by law;

       46.      Costs of bringing this claim; and

       47.      Such other relief at law or in equity to which Plaintiff shows himself justly entitled.




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Dated: April 15, 2019                Respectfully submitted,

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